       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 1 of 6



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

CENTER FOR BIO-ETHICAL REFORM, INC.;
GREGG CUNNINGHAM; DARIUS HARDWICK;
CHRISTIAN ANDZEL; MATTHEW RAMSEY; and
UB STUDENTS FOR LIFE,
                                                                STIPULATION OF
                                             Plaintiffs,        SETTLEMENT AND
                                                                DISCONTINUANCE
                       -against                                 PURSUANT TO
                                                                RULE 41(A)
DENNIS R. BLACK, in his official capacity as
Vice President for University Life & Services,
State University of New York at Buffalo (“SUNY-Buffalo”);       Civil Action No.
BARBARA J. RICOTTA, in her official capacity as                 13-cv-00581-RJA
Associate Vice President for Student Affairs,
SUNY-Buffalo; THOMAS TIBERI, individually and
in his official capacity as Director of Student Life,
SUNY-Buffalo; and GERALD W. SCHOENLE, JR.,
individually and in his official capacity as Chief of Police,
University Police, SUNY-Buffalo,

                                    Defendants.
_______________________________________________

       WHEREAS, the parties hereto have agreed to settle this action pursuant to the provisions

of Rule 41(a) of the Federal Rules of Civil Procedure; and

       WHEREAS, no party hereto is an infant or incompetent person for whom a committee

has been appointed, and no person not a party has an interest in the subject matter of the above-

entitled action and the same hereby is discontinued on the merits, with prejudice, without costs to

either party as against the other; and

       WHEREAS, the State University of New York, as the Agency having supervision of

Dennis R. Black, Barbara J. Ricotta, Gerald W. Schoenle, and Thomas R. Tiberi, alleged to have

caused the injuries herein, have approved the settlement of this action under the terms and

conditions set forth below; and
       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 2 of 6



       WHEREAS, defendants Dennis R. Black, Barbara J. Ricotta, Gerald W. Schoenle, and

Thomas R. Tiberi do not admit any wrongdoing but approve settlement for the convenience of all

interested parties; and

       WHEREAS, the parties hereto have entered into this Stipulation of Settlement and

Discontinuance, in connection with the settlement of this action; and

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the undersigned, the attorneys of record for all of the parties in the above-entitled action as

follows:

       1.      That no person not a party has an interest in the subject matter, the above-entitled

action be, and the same hereby is, settled upon payment by the State of New York of the sum of

Thirty-Thousand Dollars ($30,000) as attorneys’ fees, discontinued with prejudice as to

defendants Dennis R. Black, Barbara J. Ricotta, Gerald W. Schoenle, and Thomas R. Tiberi.

Payment shall be made by check payable to the order of the plaintiffs’ attorney, American

Freedom Law Center, in the sum of Thirty-Thousand Dollars ($30,000) as attorneys’ fees, and

sent to the plaintiffs’ attorney, Robert Joseph Muise, at American Freedom Law Center, P.O.

Box 131098, Ann Arbor, MI 48113.

       2.      That the State University of New York agrees that it will not engage in

discriminatory enforcement of its regulations against Center for Bio-Ethical Reform, Inc., and

UB Students For Life, and that it will take all reasonable measures to enforce its policies against

deliberately disrupting or preventing the freedom of any person to express his or her views.

       3.      In consideration of the payment of the sum set forth in paragraph 1, the plaintiffs

hereby release the defendants and any and all current or former employees of the State

University of New York, in their individual and official capacities, and their heirs, executors,




                                                2
       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 3 of 6



administrators and assigns and the State of New York and the State University of New York,

from any and all claims, liabilities and causes of action arising out of the circumstances set forth

in the complaint in the above-entitled action, including but not limited to claims relating to or

arising out of any alleged violation of plaintiff’s constitutional rights, and all other causes of

action and claims of liability.

       4.      The defendants do hereby release the plaintiffs and their heirs, executors,

administrators and assigns from any and all claims, liabilities and causes of action arising out of

the circumstances set forth in the complaint in the above-entitled action.

       5.      In further consideration of the payment of the sum set forth in paragraph 1,

plaintiffs hereby waive, release and forever discharge defendants and any and all current or

former employees of the State University of New York, in their individual and official capacities,

and their heirs, executors, administrators and assigns and the State of New York and the State

University of New York from any and all claims, known or unknown, arising out of the

plaintiffs’ Medicare eligibility for and receipt of Medicare benefits, and/or arising out of the

provision of primary payment (or appropriate reimbursement), including cases of action pursuant

to 42 U.S.C. §1395y(b)(3)(A) of the Medicare, Medicaid and SCHIP Extension Act of 2007.

However, the plaintiffs have not claimed any physical injuries as a result of defendants’ actions.

       6.      That payment of the sum set forth in paragraph 1 is subject to the approvals of all

appropriate State officials in accordance with the provisions for indemnification under Public

Officers Law Section 17. Plaintiffs and plaintiffs’ counsel agree to execute and deliver to

counsel for defendants all legally necessary or reasonably appropriate vouchers and other

documents requested with respect to such payment.




                                                 3
       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 4 of 6



       7.        That payment of the amounts referenced in paragraph 1 will be made within one

hundred and twenty (120) days after the approval of this Stipulation of Settlement by the Court

and receipt by defendants’ counsel of a copy of the so-ordered stipulation along with any further

documentation as required under paragraphs 12 and 13 hereof, unless the provisions of

Executive Law § 632-a apply to the plaintiffs and the payment hereunder constitutes “funds of a

convicted person” under the Son of Sam Law, in which event, the one hundred and twenty (120)

day payment period shall be extended by an additional thirty (30) days to allow for compliance

with that law.

       8.        That in the event that the aforementioned approvals in paragraph 6 of all

appropriate State officials in accordance with the provisions for indemnification under Public

Officers Law Section 17 are satisfied, but payment is not made within the 120 day or 150 day

period set forth herein, interest shall begin to accrue on the outstanding principal balance at the

statutory rate on the 121st day after court approval or the 151st day after court approval if the

provisions of Executive Law § 632-a apply to plaintiffs.

       9.        That aside from the payment set forth in paragraph 1, each party shall bear its

own costs and fees relating to this proceeding and the costs and fees shall be hereby waived by

the parties against each other.

       10.       That nothing contained herein shall constitute an admission by defendants

Dennis R. Black, Barbara J. Ricotta, Gerald W. Schoenle, and Thomas R. Tiberi, individually or

in their official capacity, that deprived the plaintiffs, Center for Bio-Ethical Reform, Inc., Gregg

Cunningham, Darius Hardwick, Christian Andzel, Matthew Ramsey, and UB Students For Life,

of any right, or of failing to perform any duty under the Constitutions, Statues, Rules,

Regulations or other laws of the United States or the State of New York.




                                                 4
       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 5 of 6



       11.     That nothing contained herein shall constitute an admission by plaintiffs Center

for Bio-Ethical Reform, Inc., Gregg Cunningham, Darius Hardwick, Christian Andzel, Matthew

Ramsey, and UB Students For Life that defendants Dennis R. Black, Barbara J. Ricotta, Gerald

W. Schoenle, and Thomas R. Tiberi, individually or in their official capacity, did not deprive

plaintiffs of their rights and privileges under the Constitutions, Statutes, Rules, Regulations, and

other laws of the United States or the State of New York.

       12.     That this Stipulation of Settlement and Discontinuance and any Order entered

thereon shall have no precedential value or effect whatsoever and shall not be admissible in any

other action or proceeding as evidence or for any other purpose except in an action or

proceeding to enforce this Stipulation of Settlement and Discontinuance.

       13.     Since no payments are being made to any plaintiff there is no need for the

attorney for the plaintiffs to release and waive any lien for services upon the above-named

plaintiffs’ causes of action, claim, verdict, report, judgment, determination, or settlement in favor

of said plaintiffs which I or my law firm may have thereon under and by virtue of Section 475 of

the Judiciary Law or otherwise.

       14.     I, the attorney for the plaintiffs, do further represent that there are no other

attorneys having a lien for services rendered to plaintiffs pursuant to the provisions of Section

475 of the Judiciary Law or otherwise.

       15.     Plaintiffs represent and warrant that they are not a Medicare recipient, have never

been on Medicare or on Social Security Disability, that no conditional payments have been made

by Medicare and that they do not expect to be a Medicare recipient within the next 30 months.

       16.     That plaintiffs agree, represent, and warrant that the defendants Dennis R. Black,

Barbara J. Ricotta, Gerald W. Schoenle, and Thomas R. Tiberi, the State University of New




                                                 5
       Case 1:13-cv-00581-RJA-HBS Document 30 Filed 06/02/17 Page 6 of 6



York, and the State of New York shall not be responsible for any liens of any kind which may

have         attached       to        the       proceeds         from         this     settlement.

       17.     In confirmation of the agreement herein and on behalf of the respective clients,

the undersigned attorneys for the parties to this action set their signatures below.

   Dated: Ann Arbor, Michigan
          June 2, 2017

                                                  American Freedom Law Center
                                                  Attorneys for the Plaintiffs
                                                  Office and P.O. Address
                                                  P.O. Box 131098
                                                  Ann Arbor, MI 48113
                                                  734-635-3756
                                                  rmuise@americanfreedomlawcenter.org



                                                  By:      /s/ Robert Joseph Muise
                                                           Robert Joseph Muise, Esq.


   Dated: Buffalo, New York
          June _2__, 2017
                                                  ERIC T. SCHNEIDERMAN
                                                  Attorney General of the State of New York
                                                  Attorney for Defendants
                                                  BY:

                                                  /s/ George Michael Zimmermann
                                                  George Michael Zimmermann, Esq.
                                                  Assistant Attorney General of Counsel
                                                  Main Place Tower, Suite 300A
                                                  350 Main Street
                                                  Buffalo, NY 14202
                                                  (716) 853-8444
                                                  George.Zimmermann@ag.ny.gov

   Dated:

   SO ORDERED:                                    _____________________________
                                                  Hon. Richard J. Arcara
                                                  United States District Court Judge



                                                 6
